
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH 



NO. 2-06-410-CV



IN THE INTEREST OF E.D.S., A CHILD	



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FROM THE 233
RD
 
DISTRICT COURT OF TARRANT COUNTY

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MEMORANDUM
 
OPINION
(footnote: 1) 
AND JUDGMENT

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On March 14, 2007, we notified appellant that the trial court clerk responsible for preparing the record in this appeal had informed the court that arrangements had not been made to pay for the clerk’s record as required by Texas Rule of Appellate Procedure 35.3(a)(2). &nbsp;T
EX.
 R. A
PP.
 P. 35.3(a)(2). &nbsp;We stated we would dismiss the appeal for want of prosecution unless by March 26, 2007 appellant made arrangements to pay for the clerk’s record and provided this court with proof of payment. &nbsp;

Because appellant has not made payment arrangements for the clerk’s record, it is the opinion of the court that the appeal should be dismissed for want of prosecution. 
 &nbsp;Accordingly, we dismiss the appeal. &nbsp;
See T
EX
. R. A
PP
. P. 37.3(b), 42.3(b).

Appellant shall pay all costs of the 
appeal, for which let execution issue.



PER CURIAM 	





PANEL D: &nbsp;LIVINGSTON, DAUPHINOT, and HOLMAN, JJ. &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;

DELIVERED: April 5, 2007

FOOTNOTES
1:See 
Tex. R. App. P. 47.4
.




